Case 2:07-cV-00523-ODW-SS Document 67 Filed 11/16/07 Page l of 1 Page |D #:85

‘l!

UNITED STATES C-OURT OF APPEALS F l L E D

 

 

 

 

 

 

y NQV 1 a 2007 `
FoR THE NlNTH CIRCUIT _.
OATHY A CATTFRSON, CLERK
U.l= 60URT OF APFEAL§
sERGE ToRosslAN, `NO. 07-80135
Plaintiff- Petitioner, D.C.NO. CV-07-00523-0DW
Central District of California,
v. Los Angeles
» state
vITAMIN SHoPPE INDUSTRIES lNC., - _ mm “-'°" CFC@“R" '
t 1., oRDER
6 a Nov 2 0 2007
Defendant - Respondent.
CENTRA|. DISTR|GT‘ 0 CAUFORN|A
BY / DEPUTY

 

 

 

 

 

/ l

Before: TALLMAN and /CLIFTON, Circuit Judges. `
The court, in its discretion, denies the petition for permission to appeal the

district court’s August 9, 2007 order denying'class action certification See Fed.

'R. CiV. P.~ 23(D; Chamberlan v. Ford Motor Co., 402 F.3d 952 .(9th Cir. 2005) (per

curiam).

 

_A TRUE COPV
CATHY A. CATTERSON
Clerk of Courr
ATTEST

 

 

 

 

S :\MOATT\Panelord\l 1-13 -07\0rders\102\07~8013 5 .wpd

